Case 1:04-cv-01144-RL.]-STA Document 49 Filed 05/31/05 Page 1 of 6 Page|D 67

IN THE UNITED sTATEs DISTRICT CoURT F"»'-EO 9\1\_§`~0‘€
FoR THE WESTERN DISTRICT oF TENNESSEE `
EASTERN DlvisIoN 05 HAY 3| AH 9, 07

BERNADETTE CUNNINGHAM and )
RosALlND JoHNSoN, ludividuany, and as ) 91 TN JACKSON
Administratrix of the Estate of NEKEY A. )
MAGSBY, Deceased, )
)
Plaintiff )
)
v. )
) No. 1-04-1 144-T/AN
MICHELIN NORTH AMERICA, INC., and ) JURY DEMAND
MICHELIN AMERICAS RESEARCH & )
DEVELOPMENT CORP., )
)
Defendants )
CONSENT ORDER

Defendant Michelin North America, Inc., by and through its undersigned counsel, seeks
to extend the time allowed for responding to the Plaintiffs’ Motion to Cornpel Discovery from
May 31, 2005 to June 10, 2005. Counsel for Plaintiffs has consented to the extension

It is so ORDERED.

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STI~TOMAS ANDERSON
UNITED sTATES MAGISTRATE IUDGE

Date: 2;?n7 27', 'ZDQ§'"

This document entered on the docket she tin comp§!a\nce
with Rule 58 and/or 79 (a) FRCP on LQ j l } § §

Case 1:04-cv-01144-RL.]-STA Document 49 Filed 05/31/05 Page 2 of 6 Page|D 68

WE SO MOVE:

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Attomeys for Michelin North America, Inc.

WE SO CONSENT:

GARY EUBANKS & ASSOCIATES

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Attorneys for Plaintiffs Bernadette Curmingham and Rosalind Johnson

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1:04-cv-01144-RL.]-STA Document 49 Filed 05/31/05 Page 3 0f6 Page|D 69

CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing document has been served
following counsel of record in the manner of service indicated below:

/

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By placing document in third party express delivery carrier, i.e., Federal Express, for
overnight delivery to the following counsel of record:

By sending document via facsimile to:

By causing the foregoing to be hand delivered to counsel of record at the following
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series

 

 

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This notice confirms a copy of the document docketed as number 49 in
case 1:04-CV-01144 was distributed by faX, mail, or direct printing on
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Case 1:04-cv-Oll44-RL.]-STA Document 49 Filed 05/31/05 Page 5 of 6 Page|D 71

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Case 1:04-cv-Oll44-RL.]-STA Document 49 Filed 05/31/05 Page 6 of 6 Page|D 72

Honorable J ames Todd
US DISTRICT COURT

